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                  EXHIBIT C
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                                                                                                Dean Harvey
                                           June 13, 2022                                             Partner
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 VIA EMAIL AND CERTIFIED MAIL


 Anthony Mariano
 United States Department of Justice
 450 5th Street NW, #4068
 Washington, D.C. 20530
 Anthony.mariano@usdoj.gov

                 RE:   In re Outpatient Medical Center Employee Antitrust Litig.,
                       No. 1:21-cv-0030-ARW-SRH (N.D. Ill.)

 Dear Anthony:

                Pursuant to Rule 45 of the Federal Rules of Civil Procedure, I hereby serve the
 attached subpoena requesting preservation of the documents detailed therein. Preservation
 instructions are also detailed in the attached subpoena.

                  During our meet and confer on June 2, 2022, we discussed the documents
 subject to this subpoena that the DOJ has demanded Defendants DaVita Inc. and Mr. Thiry
 destroy, in connection with the Colorado Action. The DOJ’s position is that these documents
 should only be available to Plaintiffs in this action through a “Touhy request,” a process whereby
 the DOJ would make a unilateral determination of what Plaintiffs should and should not
 receive. This process has the potential to substantially prejudice Plaintiffs, compared to
 Plaintiffs’ rights pursuant to a standard document request to Defendants Davita and Thiry, or
 pursuant to the attached Rule 45 subpoena. We disagree that this is the only—or preferable—
 discovery tool available. Indeed, as Judge Jackson recently explained: “If the parties to the civil
 case wish to obtain some or all of these materials, they presumably will have to use ordinary civil
 discovery procedure to obtain them from the Government in that case.”

                 As we discussed on June 2, there is a conflict between the preservation
 obligations that DaVita and Thiry have in our civil case, and the DOJ’s demand that DaVita and
 Thiry destroy these documents, with a current deadline of June 20, 2022. We will file a motion
 to intervene in the Colorado Action and to extend that deadline, to preserve the status quo until
 Plaintiffs are confident that they will not be prejudiced by any potential document destruction.

                On June 2, you said the current discovery stay in the civil case would prevent
 even a discussion about what the DOJ will and will not produce. We disagree. If the Defendants




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 in the Colorado Action are to destroy relevant evidence that the DOJ has provided to them, we
 must first be confident that: (1) there is complete identity between the documents that
 Defendants will destroy and the documents that the DOJ will preserve; and (2) that the DOJ will
 produce all of those documents to Plaintiffs at a time permitted by the Court in the civil action.
 These are preservation questions, and evidence preservation is exactly what the Court in the civil
 action has directed us to confirm.

                 These questions will take time to answer, yet the DOJ has inexplicably opposed
 even an extension of the deadline for Defendants to destroy relevant evidence. We are confused
 and disappointed by this stance. It will result in burdening the parties and two different courts
 with unnecessary motion practice, and it risks irreparable prejudice to Plaintiffs. At the same
 time, there does not appear to be any prejudice to anyone from maintaining the status quo until
 these critical preservation questions are resolved. Please reconsider. We are available to discuss
 further at your convenience.

                                              Very truly yours,



                                              Dean M. Harvey
 Enclosures
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